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                                     ORIGINAL
                        IN THE UNITED STATES DISTRICT COURT


                       FOR THE SOUTHERN DISTRICT OF GEORGIA


                                     AUGUSTA DIVISION


UNITED STATES OF AMERICA                       )

               VS.                             )                     CASE NO: CR115-077-07

                                                )
HENRY LEE WASHINGTON


                                            ORDER


       The defendant, Henry Lee Washington, is in the custody of the Bureau of Prisons.

       Surety, Jennifer Sapp, has requested the returnof the $2,500.00 cash security posted on

the defendant's $22,500.00 bond.

       IT IS HEREBY ORDERED that the cash collateral in the amount of $2,500.00 posted

by Jennifer Sapp for this defendant, plus all accrued interest thereon, be returned to: Jennifer

Sapp at 210 Fowler St., Swainsboro, GA 30401.



       This /day of c^g^^H^ex- , 2016 at Augusta, Georgia.



                               J. RANBiSrHALL, EflSTRICT JUDGE
                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF GEORGIA
